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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    JUAN REFUGIO SANCHEZ,             )       No. CV-F-05-346 OWW
                                       )       (No. CR-F-03-5165 OWW)
10                                     )
                                       )       MEMORANDUM DECISION AND
11                   Petitioner,       )       ORDER DENYING IN PART
                                       )       PETITIONER'S MOTION TO
12             vs.                     )       VACATE, SET ASIDE OR CORRECT
                                       )       SENTENCE PURSUANT TO 28
13                                     )       U.S.C. § 2255, DENYING
     UNITED STATES OF AMERICA,         )       PETITIONER’S MOTIONS TO
14                                     )       AMEND, DIRECTING FEDERAL
                                       )       DEFENDER TO APPOINT COUNSEL
15                   Respondent.       )       TO REPRESENT PETITIONER, AND
                                       )       DIRECTING UNITED STATES TO
16                                     )       FILE RESPONSIVE PLEADING
                                               (Docs. 402, 459, 461)
17

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20
          On March 11, 2005, Petitioner Juan Refugio Sanchez timely
21
     filed a motion to vacate, set aside or correct sentence pursuant
22
     to 28 U.S.C. § 2255.
23
          Petitioner pleaded guilty before Judge Oliver W. Wanger
24
     pursuant to a written Plea Agreement to Count Four of the
25
     Superseding Indictment charging him with distributing 5 grams or
26

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1    more of methamphetamine in violation of 21 U.S.C. §§ 841(a)(1)

2    and 841(b)(1)(B).    Pursuant to the Plea Agreement, Petitioner

3    agreed in pertinent part:

4              2.    Agreements by the Defendant.

5              ...

6

7                   (i) The defendant is aware that
               Title 18, United States Code, Section 3742
8              affords a defendant the right to appeal the
               sentence imposed. Acknowledging this, the
9              defendant knowingly waives the right to
               appeal his conviction or any sentence (or the
10             manner in which that sentence was determined)
               which is in accordance with the maximum
11             provided [in] Title 21, United States Code,
               Section 841(b)(1)(A) on the grounds set forth
12             in Title 18, United States Code, Section 3742
               or on any ground whatever, in exchange for
13             the concessions made by the United States in
               this plea agreement. The defendant also
14             waives his right to challenge his conviction,
               sentence or the manner in which it was
15             determined in any post-conviction attack,
               including but not limited to a motion brought
16             under Title 28, United States Code, Sections
               2241 or 2255.
17
     The Plea Agreement provided
18
               4. Nature, Elements, Possible Defenses, and Factual
19             Basis

20             (a) The defendant has read the charges
               contained in the Superseding Indictment in
21             this case and those charges have been fully
               explained to him by his attorney.
22
               (b) The defendant fully understands the
23             nature and elements of the crimes with which
               he has been charged, together with the
24             possible defenses thereto, and has discussed
               them with his attorney. To convict the
25             defendant, the government would [have] to
               prove the following elements beyond a
26             reasonable doubt:

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1                    First, that the defendant knowingly
                     delivered methamphetamine to
2                    another individual; and

3                    Second, the defendant knew that the
                     substance was methamphetamine.
4
                     In addition, the government would
5                    have to establish beyond a
                     reasonable doubt the quantity
6                    involved in her [sic] offense, that
                     is that he distributed 5 grams or
7                    more of methamphetamine.

8              (c) The defendant will plead guilty because
               he is in fact guilty of the crime set forth
9              in count three [sic] of the Superseding
               Indictments. The defendant also agrees that
10             the following are the facts of this case,
               although he acknowledges that, as to other
11             facts, the parties may disagree:

12                   On or about January 13, 1999, in
                     the County of Tulare, State and
13                   Eastern District of California, the
                     defendant did knowingly and
14                   intentionally aid and abet Juanita
                     Torres to sell approximately 217.6
15                   grams of a mixture containing 32.6
                     grams of actual methamphetamine to
16                   an undercover agent.

17                   Specifically, the [sic] Juanita
                     Torres negotiated with an
18                   undercover agent to sell
                     approximately 1/2 pound of
19                   methamphetamine in exchange for
                     $2,300. Juanita Torres traveled to
20                   the defendant’s residence where the
                     defendant delivered the drugs to
21                   Torres on behalf of the individual
                     selling the drugs. The defendant
22                   knew that he was distributing
                     methamphetamine, a controlled
23                   substance.

24        Petitioner was sentenced by Judge Anthony Ishii on March 8,

25   2004 to 110 months incarceration and 48 months supervised

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1    release.1   Petitioner did not file a Notice of Appeal.

2         Petitioner asserts that he was denied the effective

3    assistance of counsel.

4         Claims asserting the ineffective assistance of counsel are

5    analyzed under the two-prong test announced in Strickland v.

6    Washington, 466 U.S. 668 (1984).        As explained in United States

7    v. Quintero-Barraza, 78 F.2d 1344, 1348 (9th Cir. 1995), cert.

8    denied, 519 U.S. 848 (1996):

9                According to Strickland, there are two
                 components to an effectiveness inquiry, and
10               the petitioner bears the burden of
                 establishing both ... First, the
11               representation must fall ‘below an objective
                 standard of reasonableness.’ ... Courts
12               scrutinizing the reasonableness of an
                 attorney’s conduct must examine counsel’s
13               ‘overall performance,’ both before and at
                 trial, and must be highly deferential to the
14               attorney’s judgments ... In fact, there
                 exists a ‘strong presumption that counsel
15               “rendered adequate assistance and made all
                 significant decisions in the exercise of
16               reasonable professional judgment.”’ ... In
                 short, defendant must surmount the
17               presumption that, ‘under the circumstances,
                 the challenged action “might be considered
18               sound trial strategy.”’ ... Thus, the proper
                 inquiry is ‘whether, in light of all the
19               circumstances, the identified acts or
                 omissions were outside the wide range of
20               professionally competent assistance.’ ....

21               If the petitioner satisfies the first prong,
                 he must then establish that there is ‘a
22               reasonable probability that, but for
                 counsel’s unprofessional errors, the result
23               would have been different ....’

24

25        1
           Petitioner also pleaded guilty in Case No. CR-F-03-5078 AWI
     and was sentenced to 60 months incarceration, to run concurrently
26   with the sentence imposed in No. CR-F-03-5165.

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1    Where a petitioner enters a guilty plea upon the advice of

2    counsel, the voluntariness of the plea depends upon whether the

3    petitioner received effective assistance of counsel.          In order to

4    prevail on an ineffective assistance of counsel claim, “the

5    [petitioner] must show that there is a reasonable probability

6    that, but for counsel’s errors, he would not have pleaded guilty

7    and would have insisted on going to trial.”         Hill v. Lockhart,

8    474 U.S. 52, 56-57 (1985).

9         1.   Ground One.    Petitioner asserts that he was denied the

10   effective assistance of counsel because “counsel failed to file a

11   Notice of Appeal nor obtain a waiver from the defendant in

12   violation of his right to appeal.”       Petitioner contends that,

13   immediately after sentencing, he advised his attorney, Philip

14   Cherney, to file a Notice of Appeal.       Petitioner asserts:

15              [H]e stated that I had no appealable rights
                because I had signed them away. I advised
16              him that I did not sing [sic] away
                ineffective assistance of counsel, nor a
17              sentence above the statutory maximum, former
                counsel still insisted I was wrong. Former
18              counsel also never obtained a waiver from me
                waiving my right to appeal.
19
          In Roe v. Flores-Ortega, 528 U.S. 470 (2000), the Supreme
20
     Court addressed the showings required for a claim of ineffective
21
     assistance of counsel because of counsel’s failure to file a
22
     notice of appeal.    The Supreme Court noted that it has “long held
23
     that a lawyer who disregards specific instructions from the
24
     defendant to file a notice of appeal acts in a manner that is
25
     professionally unreasonable.”      Id. at 477.
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1         An evidentiary hearing will be required to determine whether

2    counsel failed to file a Notice of Appeal after being requested

3    to do so by Petitioner.     The Federal Defender will be ordered to

4    appoint counsel to represent Petitioner in this evidentiary

5    hearing.2

6         2.     Ground Two: Petitioner contends that the sentence

7    imposed “was above the statutory maximum in violation of my Sixth

8    Amendment right to a jury trial.”       Petitioner asserts:

9                 I plead guilty to count four of the
                  indictment [sic], Count four should have been
10                taken into consideration as the statutory
                  maximum and I should have been sentenced
11                accordingly, however, former counsel advised
                  me that I did not have any right to a jury
12                trial and that the judge could sentence me to
                  any sentence that he deemed appropriate under
13                the preponderance of the evidence standard.

14        Petitioner’s contention is without merit.         In Apprendi v.

15   New Jersey, 530 U.S. 466 (2000), the Supreme Court held that

16   “[o]ther than the fact of a prior conviction, any fact that

17   increases the penalty for a crime beyond the prescribed statutory

18   maximum must be submitted to a jury, and proved beyond a

19   reasonable doubt.”     530 U.S. at 490.    The crime to which

20   Petitioner pleaded guilty imposed a mandatory minimum term of 5

21   years imprisonment and a maximum term of 40 years imprisonment

22   with a maximum 4 year term of supervised release.          Petitioner was

23
          2
           Petitioner also contends that counsel was constitutionally
24   ineffective because “Former counsel also never obtained a waiver
     from me waiving my right to appeal.” Petitioner’s contention is
25   obscure inasmuch as Petitioner specifically waived his right to
     appeal in the Plea Agreement and during the change of plea
26   colloquy.

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1    sentenced to 110 months imprisonment and a four year term of

2    supervised release.

3         3.   Ground Three.    Petitioner contends that counsel was

4    ineffective because he “erroneously lead [sic] me into a plea

5    agreement by advising me that I did not have a right to a jury

6    trial on the amounts of drugs in violation of due process.”

7    Petitioner asserts:

8               Former counsel advised me that I did not have
                the right to a jury trial on the amounts of
9               drugs attributed to me. Former counsel
                advised me that the court could make all of
10              the decisions regarding the amounts of drugs
                attributed to me based on the preponderance
11              of the evidence standard, and therefore was
                ineffective in leading me into a plea
12              agreement.

13        Petitioner’s claim of ineffective assistance of counsel is

14   without merit.   The Plea Agreement specifically advised

15   Petitioner that the United States had to prove beyond a

16   reasonable doubt the quantity of methamphetamine involved in the

17   offense if the case had been tried to a jury.         Petitioner

18   admitted under oath during the change of plea colloquy that he

19   had read and understood the Plea Agreement and discussed it with

20   counsel prior to the change of plea.       The Court reviewed with

21   Petitioner every aspect of the Plea Agreement, including the

22   elements of the offense and the maximum punishment allowed by

23   law, and the various statutory and constitutional rights

24   relinquished by pleading guilty.        Petitioner admitted under oath

25   during the change of plea colloquy to the amount of

26   methamphetamine involved in the crime.

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1         4.   Ground Four.    Petitioner contends that counsel was

2    ineffective by failing “to raise the fact that this Court should

3    have considered the directives of 18 U.S.C. § 3553(a) in

4    violation of my due process rights.”       Petitioner asserts:

5               I advised former counsel of many different
                circumstances that would have warranted a
6               downward departure. Former counsel advised
                me that these directives under § 3553(a) did
7               not apply to me and therefore, he could not
                raise any of my circumstances. This mis-
8               advise [sic] lead [sic] me into entering a
                plea agreement that I would have otherwise
9               not entered into.

10        Petitioner sets forth no specific facts of which he advised

11   counsel that would warrant a downward departure under the

12   Sentencing Guidelines.     Congress allows district courts to depart

13   from the applicable guideline range if “the court finds that

14   there exists an aggravating or mitigating circumstance of a kind,

15   or to a degree, not adequately taken into consideration by the

16   Sentencing Commission in formulating the guidelines that should

17   result in a sentence different from that described.          Koon v.

18   United States, 518 U.S. 81, 92 (1996).        “If the special factor is

19   a forbidden factor, the sentencing court cannot use it as a basis

20   for departure.   If the special factor is an encouraged factor,

21   the court is authorized to depart if the applicable Guideline

22   does not already take it into account.        If the special factor is

23   a discouraged factor, or an encouraged factor already taken into

24   account by the applicable Guideline, the court should depart only

25   if the factor is present to an exceptional degree or in some

26   other way makes the case different from the ordinary case where

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1    the factor is present.     Id. at 95-96.     When a factor is

2    unmentioned in the Guidelines, the sentencing court must “decide

3    whether it is sufficient to take the case out of the Guideline’s

4    heartland,” keeping in mind that the Sentencing Commission

5    expected that “departures based on grounds not mentioned in the

6    Guidelines will be ‘highly infrequent.’” Id. at 96.          Petitioner

7    was sentenced at the bottom of the applicable guideline range, as

8    recommended by the United States pursuant to the Plea Agreement.

9    Petitioner’s conclusory assertion does not suffice to establish

10   ineffective assistance of counsel.

11        On November 23, 2005, Petitioner filed a “Motion to Amend

12   the Original Habeas Corpus 28 U.S.C. § 2255" to obtain leave to

13   add as Ground Five, “Enhancement of Sentence Due to an Erroneous

14   Misinterpretation of State Conviction.”        Petitioner contends that

15   two of his misdemeanor driving while his license was suspended or

16   revoked (Items 60 and 62 in the PSR) should not have been counted

17   in his criminal history score because he was not represented by

18   counsel when he pleaded guilty to those offenses.

19        Leave to amend is denied as futile.        An uncounseled

20   misdemeanor conviction may be included for purposes of

21   establishing a defendant’s criminal history score when the record

22   indicates that the defendant waived the right of representation.

23   See United States v. Allen, 153 F.3d 1037, 1049-1041 (9th

24   Cir.1998).   The documents submitted by Petitioner in connection

25   with his conviction in Case No. 81813 (Item 60 in the PSR)

26   establish that Petitioner waived his right to counsel by

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1    initialing the box on the court form waiving his right to counsel

2    and signing the court form.     Petitioner provides no documentation

3    in support of his contention that his conviction in Case No.

4    82647 (Item 62 in the PSR) was uncounseled or that Petitioner did

5    not waive his right to counsel.      Petitioner has the burden of

6    proving that he was not represented by counsel and that he did

7    not waive his right to counsel.      Petitioner has not carried his

8    burden.

9         On March 24, 2006, Petitioner filed a “Motion to Amend the

10   Original Habeas Corpus to Add Ground Six”, which asserts

11   “Enhancement of Sentence is Invalid Due to Vacatur [sic] of the

12   California Conviction.”     Petitioner contends that his conviction

13   of misdemeanor driving under the influence of alcohol drugs, Case

14   No. MM029031A (Item 57 in the PSR) was vacated by the Kern County

15   Superior Court on December 29, 2005.

16        Leave to amend is denied as futile.        Documentation submitted

17   with Petitioner’s motion establishes that this conviction was

18   expunged pursuant to California Penal Code § 1203.4.          In United

19   States v. Hayden, 255 F.3d 768 (9th Cir.), cert. denied, 534 U.S.

20   969 (2001), the Ninth Circuit held that “an order pursuant to

21   section 1203.4 does not render the dismissed conviction a legal

22   nullity.” Id. 773.    “A section 1203.4 order does not ‘erase’ or

23   ‘expunge’ a prior conviction, and a conviction set aside pursuant

24   to this statute fall under § 4A1.2's general rules governing

25   federal courts’ use of prior convictions and not under §

26

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1    4A1.2(j)’s exception for ‘expunged’ convictions.”         Id. at 772.3

2                                CONCLUSION

3          For the reasons stated:

4          1.   Petitioner’s motion to vacate, set aside or correct

5    sentence pursuant to 28 U.S.C. § 2255 is DENIED on all claims

6    except his claim of ineffective assistance of counsel because of

7    counsel’s alleged failure to file a Notice of Appeal after

8    requested to do so by Petitioner;

9          2.   Petitioner’s “Motion to Amend the Original Habeas Corpus

10   28 U.S.C. § 2255" filed on November 23, 2005 and Petitioner’s

11   “Motion to Amend the Original Habeas Corpus to Add Ground Six”

12   filed on March 24, 2006 are DENIED as futile;

13         3.   The Federal Defender is ordered to appoint counsel to

14   represent Petitioner in connection with his claim of ineffective

15   assistance of counsel because of counsel’s alleged failure to

16   file a Notice of Appeal after requested to do so by Petitioner;

17         4.   The United States is ordered to file a responsive

18   pleading within 30 days of the filing date of this Memorandum

19   Decision and Order to Petitioner’s claim of ineffective

20   assistance of counsel because of counsel’s alleged failure to

21   file a Notice of Appeal after requested to do so by Petitioner.

22   ///

23

24         3
           On January 8, 2007, Petitioner filed a Section 2255 motion
     asserting this same ground for relief. This Section 2255 motion
25   was assigned Case No. CV-F-07-039 OWW. Because of the ruling made
     in this Memorandum Decision and Order, this action will be
26   dismissed by separate order.

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1    IT IS SO ORDERED.

2    Dated:   June 2, 2008                  /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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